
*380OPINION.
Van Fossan :
The first question presented, whether the wife’s share of community property is properly included in determining the taxable estate, was decided adversely to petitioner in Griffith Henshaw, Executor, 12 B. T. A. 1441; affirmed by the Circuit Court of Appeals, 31 Fed. (2d) 946; certiorari denied by the United States Supreme Court, October 21, 1929.
The request of the Commissioner that the deficiency be increased by inclusion of an amount equal to the interest paid by the Commissioner to petitioner at the time of making the erroneous refund of part of the tax paid, was considered in Joseph P. Levy et al., Executors, 18 B. T. A. 337, and therein decided adversely to Commissioner’s contention. The request is denied.

Decision will be entered for the respondent in the amoimt of the deficiency appealed from.

